                             EXHIBIT G




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 1               IN THE UNITED STATES DISTRICT COURT

 2            FOR THE MIDDLE DISTRICT OF NORTH CAROLINA

 3
 4   SYNGENTA CROP PROTECTION, LLC

 5                  Plaintiff

 6   vs.                                       CIVIL ACTION NO:
 7   WILLOWOOD, LLC, et al.                    1:15-CV-274

 8                  Defendants

 9   _____________________________/
10
11

12                  The Video recorded deposition of BENJAMIN
13   S. WILNER, Ph.D., was held on Wednesday, September 28,

14   2016, commencing at 9:01 a.m., at the Law Offices of

15   Kirkland & Ellis, LLP, 300 North LaSalle Street,
16   Chicago, Illinois        60654, before Brenda S. Tannehill,

17   CSR, RPR, CRR.

18

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24   REPORTED BY:      Brenda S. Tannehill, CSR, RPR, CRR

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                                                        19 Q. Now, what people did you talk with at
                                                        20 Syngenta concerning the budgeting process?
                                                        21 A. So I spoke to the people who we've
                                                        22 mentioned before such as --
                                                        23 Q. Mr. Cecil?
                                                        24 A. Mr. Cecil.
                                                        25 Q. Mr. Fisher?


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                                                         1 A. Mr. Fisher.
                                                         2 Q. Dr. Wichert?
                                                         3 A. Dr. Wichert, Dr. Whitton. I also spoke
                                                         4 to Victoria Bublyk who is the controller as well
                                                         5 as other people in the accounting group.
                                                         6 Q. And is the substance of what they told
                                                         7 you accurately summarized at Pages 29 and 30 of
                                                         8 your report?
                                                         9 A. So that Pages 29 and 30 are a synthesis
                                                        10 of my conversations with them. So they said
                                                        11 other things, too, but I synthesized it down to
                                                        12 this.
                                                        13 Q. About how long did you discuss their
                                                        14 budgeting process with them, about how many --
                                                        15 how much time did you spend in those
                                                        16 discussions?
                                                        17 A. Well, first, it's hard to say because
                                                        18 we would have long conversations about topics
                                                        19 which would discuss budgets for a portion and
                                                        20 then go on to other topics so it's hard for me
                                                        21 to quantify. There was not a "we're only
                                                        22 talking about budgeting from this time to this
                                                        23 time."
                                                        24 Q. As you sit here today and you look at
                                                        25 Pages 29 to 30, is there anything else they told


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 1 you about their budgeting process that you
 2 regard as important to your determination that
 3 their budgeting process could be used in this
 4 case, anything other than what appears in 29 and
 5 30?
 6 A. As I sit here today, I believe that
 7 everything of great import is here. There are
 8 other facts that I determined that I learned
 9 from that and which might be relevant if a
10 certain topic gets raised by you, Mr. Jarosz or
11 someone else, but in overall generalities, I am
12 comfortable with Pages 29 and 30.




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                                                                                   :
                                                         4 Q. Is it your understanding that one
                                                         5 cannot commercially make azoxystrobin without
                                                         6 practicing the '761 patent?
                                                         7 A. It is my understanding that there are
                                                         8 other methods, for instance, the methods that
                                                         9 Syngenta used prior to the '761 patent, that one
                                                        10 could physically manufacture the product.
                                                        11 Q. And, in fact, if I heard you correctly,
                                                        12 it's your understanding that Syngenta used the
                                                        13 '138 method, the patent taught in the '138
                                                        14 method, for a period of time before the '761
                                                        15 method became available?
                                                        16 A. Yes, I do.
                                                        17 Q. Do you know when Syngenta stopped --
                                                        18 switched from the '138 to the '761?
                                                        19 A. Well, I think they still practice the
                                                        20 '138 patent.
                                                        21 Q. I'm talking about using the additional
                                                        22 technology taught in the '761.
                                                        23 A. I do not know the date of the switch.




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